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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Carlos Bustamante, on behalf of               )
himself and all other plaintiffs similarly    )
situated,                                     )
                                              )
                Plaintiffs,                   )
                                              )
                v.                            )       Case No.: 1:16-cv-11753
                                              )
Firehouse Pizza & Pub LLC,                    )
d.b.a. FireHouse Pizza, and                   )
Dominick Fecarotta                            )
                                              )
                                              )
                Defendants.                   )

                                MOTION FOR COSTS AND FEES

        Plaintiffs Carlos Bustamante ("Plaintiff"), on behalf of himself and all other persons

similarly situated, known and unknown, by its attorneys, hereby moves this Court pursuant to

Federal Rule of Civil Procedure 4(d) for costs and fees incurred as a result of the failure of

Firehouse Pizza & Pub LLC d/b/a FireHouse Pizza and Dominick Fecarotta ("Defendants") to

comply with Plaintiffs request for a waiver of service of process. In support of its motion,

Plaintiffs state as follows:

        1.     On December 30, 2016 Plaintiff filed a Complaint against Defendants alleging

Violations of the Fair Labor Standards Act and the Illinois Minimum Wage Law regarding

overtime.

        2.     On January 11, 2017, pursuant to Rule 4(d)(2), Plaintiffs’ requested that

Defendants waive service of process. The request complied with the requirements of Rule 4 and

was sent via the United States Postal service certified mail. (see Exhibit 1)

        3.     A true and correct copy of the request is attached hereto as Exhibit 2.
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       4.      On January 30, 2017, Defendant, Dominick Fecarotta, called Plaintiff’s counsel,

John Kunze at 4:57 p.m. from the telephone number (727)487-4707.               Mr. Kunze asked

Defendant if he would be waiving service. In response, Defendant said that he would not be

waiving service and that Plaintiff will need to serve him summons. Defendant did not returen

waiver of summons.

       5.      Rule 4(d)(2) provides that "a corporation ... that receives notice of an action as

provided for in this paragraph has a duty to avoid unnecessary costs of serving the summons."

The rule provides that if a defendant fails to comply with a proper request for a waiver of service

"the court shall impose the costs subsequently incurred in effecting service on the defendant

unless good cause for the failure be shown." Rule 4(d)(5) provides that the costs to be imposed

include all costs incurred in effecting service as well as all costs, including attorneys' fees,

incurred in any motion to collect costs.

       6.      Defendant failed to comply with a proper request for waiver of service, and

instead insisted on service.

       7.      Defendants have not shown any good cause for its refusal to comply with

Plaintiff’s request for a waiver of service.

       8.      As a result of Defendants’ refusal to waive service and to comply with its duty to

save the costs of service, Plaintiffs’ were forced to serve Defendants with the Complaint and

Summons via special process server at a cost of $225. Plaintiffs’ also incurred attorney’s fees

and costs in the amount of $424.46. The complete costs of bringing this motion are not yet

determined. A true and correct copy of the receipts of the Special Process Server and the invoice

for preparation are attached as Exhibit 3.

       WHEREFORE Plaintiff Carlos Bustamante respectfully requests that this Court: (a)
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award Plaintiffs’ the costs incurred in effecting service of process; (b) award Plaintiffs the

attorneys fees incurred in effecting service of process; (c) award Plaintiffs all costs and attorneys

fees incurred as a result of this Motion for Costs and Fees; and (d) award any other relief this

Court deems just and appropriate.



Dated: May 16, 2017                   Respectfully Submitted,


                                      By:            /s/ John Kunze_________
                                              One of Plaintiffs’ Attorneys


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